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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 P.K.,

                  Plaintiff,

          vs.                                               Case No.:

 U.S. CUSTOMS AND BORDER                                    FILED UNDER SEAL
 PROTECTION, et al.,

                  Defendants.


                PLAINTIFF’S MOTION TO PROCEED USING PSEUDONYMS
                              AND FILE UNDER SEAL

         Plaintiff P.K. (“Plaintiff”) is an asylum seeker challenging the unlawful revocation of his

student visa by an unappointed Customs and Border Protection (“CBP”) employee. After

obtaining his Bachelor’s Degree in Vienna, Austria, Plaintiff traveled to the United States in

order to attend                          in Florida, where he had been accepted into a Master’s

Degree program. When he arrived at O’Hare airport in Chicago, Illinois, and before he could

make his connecting flight, a CBP officer unlawfully revoked Plaintiff’s validly issued F-1

student visa. Facing deportation, Plaintiff expressed a fear of                       if returned to

his home                   . Plaintiff has already experienced

                                                    . In addition, from about the time he attended

undergraduate studies,                                              .

         Plaintiff currently resides in Orlando, Florida unable to complete his Master’s course

work due to his revoked student visa. He is in removal proceedings before an immigration judge

related to his asylum claim. His challenge before this Court relates to the visa revocation but

tangentially includes sensitive and highly personal facts related to his asylum claim that, if they
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were publicly disclosed, would endanger Plaintiff’s life and safety. Cf., e.g., Doe 1 v. George

Washington Univ., 369 F. Supp. 3d 49, 62 (D.D.C. 2019); O.A. v. Trump, No. 18-cv-2718, 2018

WL 11249801, at *1 (D.D.C. Nov. 20, 2018). Accordingly, and for the reasons set forth below,

Plaintiff respectfully requests that the Court grant him permission to proceed in this action by

using his initials as a pseudonym and to seal portions of any papers that provide identifying

details, including the present motion and supporting exhibits.

                                       LEGAL STANDARD

        Although generally a complaint must state the names of all parties under Federal Rule of

Civil Procedure 10(a), it “is within the discretion of the district court to grant the ‘rare

dispensation’ of anonymity.” Doe 1, 369 F. Supp. 3d at 62 (quoting United States v. Microsoft

Corp., 56 F.3d 1448, 1464 (D.C. Cir. 1995)). See Ex. 1, Unredacted Compl. When evaluating

whether a party may proceed anonymously, a court considers “the impact of the plaintiff’s

anonymity on the public interest in open proceedings and on fairness to the defendant.” Nat’l

Ass’n of Waterfront Emps. v. Chao, 587 F. Supp. 2d 90, 99 (D.D.C. 2008). These competing

interests are assessed through a “five-part test to balance the concerns of plaintiffs seeking

anonymity with those of defendants and the public interest.” Eley v. District of Columbia, No.

16-cv-806, 2016 WL 6267951, at *1 (D.D.C. Oct. 25, 2016). The five factors, sometimes

referred to as the “Chao test,” see, e.g., J.W. v. District of Columbia, 318 F.R.D. 196, 198

(D.D.C. 2016), are:


                (1) whether the justification asserted by the requesting party is
                merely to avoid the annoyance and criticism that may attend any
                litigation or is to preserve privacy in a matter of a sensitive and
                highly personal nature; (2) whether identification poses a risk of
                retaliatory physical or mental harm to the requesting party or even
                more critically, to innocent non-parties; (3) the ages of the persons
                whose privacy interests are sought to be protected; (4) whether the
                action is against a governmental or private party; and (5) the risk of

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               unfairness to the opposing party from allowing an action against it
               to proceed anonymously.

Chao, 587 F. Supp. 2d at 99.

       Similarly, courts considering a motion to seal generally consider six factors often referred

to as the “Hubbard test”:

               (1) the need for public access to the documents at issue; (2) the
               extent of previous public access to the documents; (3) the fact that
               someone has objected to disclosure, and the identity of that person;
               (4) the strength of any property and privacy interests asserted; (5)
               the possibility of prejudice to those opposing disclosure; and (6)
               the purposes for which the documents were introduced during the
               judicial proceedings.

EEOC v. Nat’l Child. Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (citing United States v.

Hubbard, 650 F.2d 293, 317–22 (D.C. Cir. 1980)).

       These two tests, at root, “weigh the same two general concerns.” O.A., 2018 WL

11249801, at *2. The two concerns are “(1) the strength of the generalized property and privacy

interests involved and the possibility of prejudice to those opposing disclosure; and (2) whether

the justification for nondisclosure is merely to avoid the annoyance and criticism that may attend

any litigation or is to preserve privacy in a matter of a sensitive and highly personal nature.” Id.

(quotations, citations, and brackets omitted). Ultimately, both tests analyze “whether the non-

speculative privacy interests that the movants have identified outweigh the public’s substantial

interest in knowing the identities of [the] parties in litigation, along with any legitimate interest

that the non-moving parties[] . . . may have in revealing the identity of the movants.” John Doe

Co. No. 1 v. CFPB, 195 F. Supp. 3d 9, 17 (D.D.C. 2016).

                                           ARGUMENT

       Plaintiff believes he will face physical violence or even death if returned

                                           . As the pleadings and their supporting documents

demonstrate, Plaintiff was subjected to verbal threats and physical violence
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                                                                                    . Ex. 2, Form I-870

at 9.




                                                 .

        Plaintiff’s identity and the specific facts of his asylum claim are not relevant to Plaintiff’s

two claims before this Court: (1) that the unappointed CBP employee who purported to revoke

Plaintiff’s validly issued F-1 visa lacked authority to do so under the Appointments Clause; and

(2) that the revocation of Plaintiff’s validly issued F-1 visa was arbitrary, capricious, an abuse of

discretion, and otherwise contrary to Defendant Bock’s authority under federal regulation. Thus,

there is little, if any, public interest in Plaintiff’s identity or the details that Plaintiff proposes to

redact from the public record. Further, Defendants in this case are federal agencies or

government officials sued in their official capacities. Neither will suffer prejudice if Plaintiff is

permitted to proceed under pseudonym and seal potentially identifying information. See O.A.,

2018 WL 11249801, at *3.




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I.     The Chao Test Supports Allowing Plaintiff to Proceed Under a Pseudonym

       Four of the five Chao factors weigh strongly in favor of allowing Plaintiff to proceed

under a pseudonym, and the fifth factor is neutral.

       1.       Plaintiff’s request is motivated by a need to “preserve privacy in a matter of a

sensitive and highly personal nature.” Chao, 587 F. Supp. 2d at 99.




                                                          Thus, if he were forced to               ,

he would be at risk of severe harm. This threat is significant in light of the persecution that

Plaintiff has already faced




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       Plaintiff is currently in removal proceedings during which an immigration judge will

evaluate his asylum claim. See Ex. 3, Notice to Appear. Due to the sensitive nature of asylum

and other protection-based claims, by federal regulations, the contents of those proceedings are

subject to nondisclosure restrictions. See 8 C.F.R. § 1208.6. If Plaintiff must                    with

his name and personal facts revealed in this case, the risk that his persecutors—

                                                                      —will learn of his

             increases significantly. The disclosure of Plaintiff’s name through public court

filings would put Plaintiff in danger of serious personal harm or death. Such a risk weighs

heavily in favor of allowing Plaintiff to proceed pseudonymously. See, e.g., Doe v. U.S. Dep’t of

State, No. 1:15-cv-01971, 2015 WL 9647660, at *3 (D.D.C. Nov. 3, 2015) (“Preserving his

anonymity goes beyond protecting Doe from the annoyance and criticism that may attend any

litigation, but goes to protecting Doe and innocent family members from retaliation . . . .”);

Mem. and Order at 5, M.G.U. v. Nielsen, No. 18-cv-1458 (D.D.C. June 21, 2018), ECF No. 7

(“The plaintiffs adequately have detailed the deadly threats they and their families have already

faced and continue to face, and how public identification would only exacerbate these threats.”).

       2.       Similarly, identifying Plaintiff “poses a risk of retaliatory physical or mental

harm.” Chao, 587 F. Supp. 2d at 99.

                                Ex. 2 at 10. As explained above, publishing this

                               will increase the “risk of retaliatory physical or mental harm” to

Plaintiff if he is returned to his country of origin. Chao, 587 F. Supp. 2d at 99.

       3.       The third Chao factor, “the ages of the persons whose privacy interests are sought

to be protected,” Chao, 587 F. Supp. 2d at 99, is neutral. Although Plaintiff is                , and

thus not automatically entitled to the use of a pseudonym as minors are, see Fed. R. Civ. P.



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5.2(a), adults may also proceed pseudonymously where the other factors support it. See, e.g.,

Yaman v. U.S. Dep’t of State, 786 F. Supp. 2d 148, 153 (D.D.C. 2011) (“Where an action is

brought against a government entity rather than a private party, or where it involves the privacy

interests of minor children, courts are more likely to allow a plaintiff to proceed anonymously.”

(emphasis added)).

       4.       Courts in this district have found that “[w]hen a plaintiff challenges the

government or government activity, courts are more like[ly] to permit plaintiffs to proceed under

a pseudonym.” Chao, 587 F. Supp. 2d at 99 n.9 (cleaned up); accord Yaman, 786 F. Supp. 2d at

153. Here, Plaintiff brings suit against the U.S. Department of Homeland Security, U.S.

Customs and Border Protection, and two employees of those agencies in their official capacities.

What is more, the regulations of Defendant U.S. Department of Homeland Security confirm that,

as a matter of policy, the Department has no interest in the disclosure of the identities of asylum

seekers to third parties, and is indeed obligated to keep such information confidential. See

8 C.F.R. § 208.6(a) (“Information contained in or pertaining to any application for . . .

asylum . . . [or] records pertaining to any credible fear determination . . . shall not be disclosed

without the written consent of the applicant[.]”). Thus, leave to proceed under pseudonym is

especially warranted.

       5.       Defendants will not be prejudiced by the use of pseudonyms to protect Plaintiff’s

identity from the general public. The unredacted exhibits attached to this motion provide

Plaintiff’s name, his Alien Registration Number, and other details sufficient to identify him in

Defendants’ databases. See, e.g., Ex. 1 at 1; Ex. 2 at 1. Further, Plaintiff’s identity is incidental

to the adjudication of his claims, making “any prejudice to Defendants . . . limited because

[Plaintiff is] challenging the constitutional and statutory validity of a governmental [policy], such



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that the questions presented in this case ‘do not depend on identifying the specific parties’ but

instead are ‘purely legal.’” Int’l Refugee Assistance Project v. Trump, No. 17-cv-361, 2017 WL

818255, at *3 (D. Md. Mar. 1, 2017) (collecting cases). Thus, there is no “risk of unfairness to

the opposing party from allowing an action against it to proceed anonymously.” Chao, 587 F.

Supp. 2d at 99.

II.     The Hubbard Test Supports Allowing Plaintiff to File Under Seal

        Plaintiff respectfully requests to redact identifying details from his complaint, supporting

exhibits, and future filings. These limited redactions would not deprive the public of any

information relevant to considering the constitutional and administrative law issues before this

Court. Rather, the redactions would withhold only potentially identifying information such as

Plaintiff’s age, his country of origin, place of birth, university attendance and admission,

specifics related to Plaintiff’s                                                      , and the harm

Plaintiff has sustained in his country of origin because of                        . Given the

limited scope of the sealed information, the Hubbard factors all point toward allowing Plaintiff

to file under seal.

        1.       There is no “need for public access to” the limited information Plaintiff seeks to

seal. Hubbard, 650 F.2d at 317 (capitalization altered). The public’s understanding of Plaintiff’s

claims, Defendants’ conduct, and the constitutional and statutory principles at issue does not

benefit from the knowledge of Plaintiff’s identity nor related details.

        2.       There has been no “previous access” to the information Plaintiff seeks to redact.

Hubbard, 650 F.2d at 318. Rather, the Government is obligated by its own regulations to keep

such details confidential. 8 C.F.R. §§ 208.6, 1208.6.




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        3.       The fact that Plaintiff raises “[s]trong objections” to publishing the information

publicly “is an obvious but important consideration.” Hubbard, 650 F.2d at 319; Nat’l Child.

Ctr., 98 F.3d at 1409–10. While this is not a major factor in the analysis of this motion, it

nevertheless weighs in favor of sealing, because Plaintiff has a significant interest in maintaining

his anonymity due to the harm he would likely endure if he is

                           .

        4.       The “strength of the generalized property and privacy interests asserted” in this

case is considerable. Hubbard, 650 F.2d at 320 (capitalization altered). Public disclosure of

Plaintiff’s personal details and confirmation of Plaintiff’s



        5.       There is no “possibility of prejudice to those opposing disclosure” in this case.

Nat’l Child. Ctr., 98 F.3d at 1409; Hubbard, 650 F.2d at 320–21. As stated, Defendants either

currently have or will have access to all information that Plaintiff requests be sealed. See, e.g.,

Ex. 2 at 1.

        6.       Lastly, the “purposes for which the [information was] introduced” weigh in favor

of sealing. Hubbard, 650 F.2d at 321 (capitalization altered). The information Plaintiff proposes

to seal consists of background details regarding Plaintiff’s entry into the United States. It is

incidental to the principal legal issues before the Court and is likely to be immaterial to the

Court’s ultimate resolution of the case. Cf. In re Nat’l Prescription Opiate Litig., 927 F.3d 919,

939 (6th Cir. 2019) (presumption of openness is based on public’s “interest in ascertaining what

evidence and records the District Court and this Court have relied upon in reaching our

decisions”) (quoting Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1181 (6th

Cir. 1983).



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                                               * * *

        Plaintiff’s strong interest in anonymity outweighs the “minimal apparent interest in

disclosure” and the de minimis risk of prejudice to Defendants. See Mem. and Order at 6,

M.G.U., No. 18-cv-1458 (citing Horowitz v. Peace Corps, 428 F.3d 271, 278 (D.C. Cir. 2005)

(internal citation omitted) (“If there is no public interest in the disclosure of certain information,

‘something, even a modest privacy interest, outweighs nothing every time.’”)). Moreover, the

public interest would be poorly served by requiring asylum seekers, like Plaintiff, to disclose

their identities in order to seek relief, as such an outcome “creates an unnecessary risk of chilling

the willingness of asylum seekers from litigating important issues like the ones raised in this

case.” Al Otro Lado, Inc. v. Nielsen, No. 17-cv-2366, 2017 WL 6541446, at *7 (S.D. Cal. Dec.

20, 2017).

                                          CONCLUSION

        This Court should grant Plaintiff’s motion to proceed under pseudonym and file under

seal.




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Dated: July 8, 2022                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022, I caused a true and correct copy of the foregoing to

be filed electronically with the Clerk of the Court on the ECF system and transmitted to counsel

registered to receive electronic service.

                                                    s/ Nandini Singh
                                                    Nandini Singh
